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        quinn emanuel trial lawyers | los angeles
        865 South Figueroa Street, 10th Floor, Los Angeles, California 90017-2543 | TEL: (213) 443-3000 FAX: (213) 443-3100




  June 23, 2011


  VIA ELECTRONIC MAIL


  Jennifer Keller, Esq.
  Keller Rackauckas LLP
  18500 Von Karman, Ste. 560
  Irvine, CA 92612

  Thomas S. McConville, Esq.
  Orrick, Herrington & Sutcliffe, LLP
  4 Park Plaza, Suite 1600
  Irvine, CA 92614-2558

  Annette L. Hurst, Esq.
  Orrick, Herrington & Sutcliffe LLP
  The Orrick Building
  405 Howard Street
  San Francisco, CA 94105


  Re:      Mattel, Inc. v. MGA Entertainment, Inc.

  Counsel:

  As you are aware, an application seeking the testimony of Isaac Larian, Jahanghir Makabi,
  Daphne Gronich and Tom Park in pursuant to a letter rogatory issued in the ongoing prosecution
  of Machado and Trueba was filed earlier today. Please confirm by close of business tomorrow,
  July 1, 2011, that you are authorized to accept service on behalf of Mr. Makabi, Ms. Gronich and
  Mr. Park of the Application For An Order Under 28 U.S.C. § 1782 Compelling Issuance Of

         quinn emanuel urquhart & sullivan, llp
         NEW YORK | 51 Madison Avenue, 22nd Floor, New York, New York 10010-1601 | TEL (212) 849-7000 FAX (212) 849-7100
         SAN FRANCISCO | 50 California Street, 22nd Floor, San Francisco, California 94111-4788 | TEL (415) 875-6600 FAX (415) 875-6700
         SILICON VALLEY | 555 Twin Dolphin Drive, 5th Floor, Redwood Shores, California 94065-2139 | TEL (650) 801-5000 FAX (650) 801-5100
         CHICAGO | 500 W. Madison Street, Suite 2450, Chicago, Illinois 60661-2510 | TEL (312) 705-7400 FAX (312) 705-7401
         LONDON | 16 Old Bailey, London EC4M 7EG, United Kingdom | TEL +44(0) 20 7653 2000 FAX +44(0) 20 7653 2100
         TOKYO | NBF Hibiya Bldg., 25F, 1-1-7, Uchisaiwai-cho, Chiyoda-ku, Tokyo 100-0011, Japan | TEL +81 3 5510 1711 FAX +81 3 5510 1712
         MANNHEIM | Erzbergerstraße 5, 68165 Mannheim, Germany | TEL +49(0) 621 43298 6000 FAX +49(0) 621 43298 6100

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  Subpoenas For The Taking Of Testimony For Use In A Foreign Proceeding Pursuant To Letter
  Rogatory and supporting papers. Otherwise, Mattel will proceed to serve the papers these
  individuals personally.

  I look forward to hearing from you.

  Best Regards,


  Jon Corey




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